Case 6:17-cV-06359-FPG-I\/|WP Document 40 Filed 05/15/18 Page 1 of 2

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

SEPTIMUS SCOTT,

 

Plaintiff,
v. ` SUR-SUR REPLY
DECLARATION IN
THE CITY OF ROCHESTER, a municipal entity, POLICE SUPPORT OF
OFFICER JEFFREY KES`TER, IBM #2230, POLICE DEFENDANTS’ MOTION
OFFICER DESTINY DETERVILLE, IBM #2224, FOR PARTIAL DISMISSAL
LIEUTENANT NASER ZENELOVIC, and Police Officers
“JOHN DOES l-lO” (names and number of whom are l7-cv-6359 (FPG)(MWP)
unknown at present), and other unidentified members of the
Rochester Police Depar'tment,
Defendants.
PATRICK BEATH, Esq., declares and says:
l. l am an attorney with the City of Rochester Corporation Counsel’s Oft`rce,

attorneys for Defendants. l am admitted to practice law before the courts of the State ofNew
York and in the United States District Court, Western District of New York.

2. I submit this Declaration in support of Defendants’ F.R.C.P. Rule lZ(b)(6)
Motion for Partial Dismissal for Failure to State a Claim. The information set forth herein is
based upon my personal knowledge, a review of the proceedings in this action, and a review of
relevant case law.

3. Armexed hereto as Exhibit E is a copy of the Arnended Complaint in the matter of
Keene v. Cin of Rochester, et al., l7-cv-6708 W.D.N.Y.

4. Armexed hereto as Exhibit F is an excerpt of the deposition testimony of former

RPD Chief J ames Sheppard, in which he explains that, where an individual on the street does not

Case 6:17-cV-06359-FPG-I\/|WP Document 40 Filed 05/15/18 Page 2 of 2

disperse in response to a police directive to do so, the police are not to take further police action

unless the individual is committing an offense that would justify such police action.

DATED: May 15, 2018

BY:

To: ROTH & ROTH LLP
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